              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION
            CRIMINAL CASE NO. 2:13-cr-00015-MR-DLH-3


UNITED STATES OF AMERICA,       )
                                )
                  Plaintiff,    )
                                )
         vs.                    )                             ORDER
                                )
                                )
CARL WESLEY JUNALUSKA, II,      )
                                )
                  Defendant.    )
_______________________________ )


      THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment [Doc. 71]. The Defendant consents to the Motion.

      Upon careful consideration of the Government’s Motion,

      IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

71] is GRANTED, and the Bill of Indictment in this case is hereby

DISMISSED WITHOUT PREJUDICE as to Defendant Carl Wesley

Junaluska, II.

      IT IS SO ORDERED.         Signed: November 20, 2013




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